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                                 UNITED STATES DISTRICT COURT W. D. OF WASHINGTON AT TACOMA

 1
         UNITED STATES OF AMERICA,
                                               Plaintiff,                        Case No. CR09-5514RJB
 2
                            v.
 3
         JOEL ANGUIANO,                                                          DETENTION ORDER
                                               Defendant.
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 5

 6
     THE COURT, having conducted a detention hearing pursuant to 18 U.S.C. §3142, finds as follows:
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     1) No condition or combination of conditions which defendant can meet will reasonably assure the appearance of the defendant as
     required and/or the safety of any other person or the community. This finding is based on 1) the nature and circumstances of the
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     offense(s) charged, including whether the offense is a crime of violence or involves a narcotic drug; 2) the weight of the evidence
     against the person; 3) the history and characteristics of the person including those set forth in 18 U.S.C. § 3142(g)(3)(A)(B); and 4)
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     the nature and seriousness of the danger release would impose to any person or the community.
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     2) No less restrictive condition or combination of conditions will reasonably assure the appearance of the defendant as required
     and/or the safety of any other person and the community, including but not limited to those conditions set forth in 18 U.S.C.
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     3142(c)(1)(B).
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     3) Detention is presumed, without adequate rebuttal, pursuant to 18 U.S.C 3142(e) (if noted as applicable below):
      ( )    Conviction of a Federal offense involving a crime of violence. 18 U.S.C.§3142(e)(f)
13
      ( )    Potential maximum sentence of life imprisonment or death. 18 U.S.C.§3142(e)(f)
      (T )   Potential maximum sentence of 10+ years as prescribed in the Controlled Substances Act (21 U.S.C.§801 et seq.), the
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             Controlled Substances Import and Export Act (21 U.S.C.§951 et seq.) Or the Maritime Drug Law Enforcement Act (46
             U.S.C. App. 1901 et seq.)
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     4) Safety Reasons Supporting Detention (if noted as applicable below):
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      ( )     Defendant is currently on probation/supervision resulting from a prior offense.
      ( )     Defendant was on bond on other charges at time of alleged occurrences herein.
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      ( )     Defendant’s prior criminal history.
      ( T) Nature of allegations.
18

     Flight Risk/Appearance Reasons Supporting Detention (if noted as applicable below):
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      ( T)     Defendant’s lack of community ties and resources.
      ( T)    Circumstances surrounding the arrest.
20
      ( )      Detainer(s)/Warrant(s) from other jurisdictions.
      ( )      Failures to appear for past court proceedings.
21
      ( )      Repeated violations of court orders for supervision.
                                                                Order of Detention
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     The defendant shall be committed to the custody of the Attorney General for confinement in a corrections facility separate, to the
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     extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal, without prejudice to review.
     <        The defendant shall be afforded reasonable opportunity for private consultation with counsel.
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     <        The defendant shall on order of a court of the United States or on request of an attorney for the Government, be delivered
              to a United States marshal for the purpose of an appearance in connection with a court proceeding.
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                                                     A
                                                     August 25, 2009.
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28                                                   J. Richard Creatura, United States Magistrate Judge

     DETENTION ORDER
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